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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


 MIDAMERICA C2L INCORPORATED
 and SECURE ENERGY, INC.,

                     Plaintiffs,

 v.                                                     Case No: 6:17-cv-171-Orl-40LRH

 SIEMENS ENERGY, INC.,

                     Defendant.
                                         /

                                   CIVIL PRETRIAL ORDER

       This cause comes before the Court following the status conference held on
 January 24, 2020 pursuant to Federal Rule of Civil Procedure 16(d) and Rule 3.06 of the
 Local Rules of the Middle District of Florida.

       It is ORDERED as follows:

       (1)    Trial Date & Time:

              This matter is set for a jury trial to begin on Monday, March 2, 2020 at
              9:00 a.m. The Court has set aside four (4) days to try this case.

       (2)    Rulings on Pretrial Motions:

                 •   As to MidAmerica C2L’s Motion in Limine (Doc. 172), the Court
                     DEFERS ruling on the issue of the impeachment of Mr. Kenny by the
                     use of the SEC’s proceedings. The Motion is otherwise DENIED.

                 •   Siemens’ Motion in Limine (Doc. 173) is DENIED AS MOOT.

                 •   Siemens’ Motion in Limine (Doc. 230) is GRANTED.

       (3)    Joint Pretrial Statement Controls:

              The parties’ Joint Final Pretrial Statement (Doc. 218) will control the course
              of the trial and may not be further amended except by order of the Court in
              the furtherance of justice.
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       (4)   Deposition Designations:

             By February 17, 2020, Siemens shall submit via email their deposition
             designations. By February 19, 2020, MidAmerica C2L shall submit
             designations to these depositions and objections to Siemens’ designations.
             By February 24, 2020, MidAmerica C2L shall file objections to Siemens’
             designations and any counter-designations. Siemens shall advise the Court
             by February 17, 2020, if their overseas witnesses will be appearing in-
             person or if their depositions will be played at trial.

       (5)   Voir Dire:

             The Court will conduct voir dire in this matter. The parties have submitted
             their proposed voir dire.

       (6)   Witness Lists, Exhibit Lists, and Exhibits:

             (a)   If a party intends to utilize a computer to display exhibits, including
                   documents, to the jury via the monitors positioned throughout the
                   courtroom, the party is instructed to ensure that each exhibit is saved
                   to a single image (.jpeg, .pdf, etc.), as opposed to saving several
                   exhibits within a single image. This requirement is intended to avoid a
                   party scrolling through a composite exhibit in order to locate the
                   specific document being presented to the witness.

             (b)   All multi-page exhibits must contain individual page numbers, or bates
                   numbers, such that the record will clearly reflect the precise page
                   within an exhibit that is being discussed by the witness or counsel.

             (c)   When a party offers a composite exhibit, the exhibit shall be organized
                   in a manner which clearly delineates the various documents or
                   photographs contained within the composite exhibit. For example, a
                   composite exhibit containing a contract and addendum to the contract
                   will be marked as composite exhibit 1(a), 1(b), etc. with the letter
                   identifying each individual document within the exhibit. Composite
                   exhibits lacking internal subsections will not be permitted. The exhibit
                   list shall list each composite exhibit subsection individually.

             (d)   When utilizing a video deposition at trial, the party presenting the video
                   deposition shall file the corresponding transcript in CM/ECF prior to
                   trial.

             (e)   Each party shall clearly state all objections to any exhibit listed on the
                   opposing party’s exhibit list. The failure of a party to identify an
                   objection on the exhibit list shall constitute a waiver of that objection.




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             (f)   No later than Thursday, February 27, 2020, each party shall provide
                   the Court with copies of their exhibits in PDF format on one (1) CD or
                   one (1) flash drive, along with their exhibit list. Additionally, the
                   parties MUST file their exhibit and witness lists on the docket.
                   The Plaintiff is responsible for submitting any joint exhibits to the
                   Court. Multiple-page exhibits must be Bates stamped. Each exhibit
                   shall be set forth in a separate file on the CD or flash drive and shall
                   be clearly numbered and labeled for the Court’s ease of reference.
                   Composite exhibits may be set forth in one file.

             (g)   The parties are directed to deliver the following to the Courtroom
                   Deputy Clerk on the morning of trial: (1) original and two copies of the
                   exhibit list; (2) original and two copies of each parties’ updated witness
                   list; (3) original and one copy of the agreed upon verdict form; and (4)
                   one set of pre-tagged exhibits for the Witness. This set of exhibits shall
                   include the appropriate colored exhibit tags stapled to the upper right
                   hand corner of the first page. Each tagged exhibit shall be separately
                   contained in a labeled manila folder (as opposed to exhibits being
                   organized in binders) indicating exhibit number and party name, e.g.,
                   Plaintiff-1, Defendant-1, Defendant Smith-1 (if multiple defendants). All
                   exhibits shall be pre-marked pursuant to Local Rule 3.07. Joint exhibits
                   which are not objected to shall be introduced and admitted at the
                   outset of the case. Photo substitutes of physical exhibits must be
                   provided to the Courtroom Deputy Clerk immediately upon the close
                   of evidence. The parties will bring to Court an additional exhibit list to
                   be used by the jury during deliberations. The parties are responsible
                   for redacting from the exhibit any exhibits which were not introduced.
                   If any party disagrees with the description of the exhibit, they must file
                   an objection to the description prior to the start of trial.

       (7)   Jury Instructions and Verdict Form:

             The parties have filed their proposed jury instructions, verdict forms, and
             respective objections thereto.

       (8)   Sidebar Conferences:

             The Court disfavors sidebars absent unusual circumstances. The Court will
             be available prior to the start of trial each day to address matters which may
             arise during the course of the trial. The parties are required to bring to the
             Court’s attention prior to the start of trial any evidentiary issue or other
             matter which may require ruling by the Court during trial.




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        (9)    Impeachment, Refreshing Recollection:

               (a)   Any party wishing to impeach a witness or refresh the witness’
                     recollection with a deposition or other prior testimony or statement
                     must refrain from reading the question and answer. Rather, the party
                     is required to show the witness the prior testimony, allow the witness
                     time to read the prior testimony, and then determine whether the prior
                     testimony is inconsistent with the witnesses’ current testimony or
                     refreshes the witnesses’ recollection. The parties are required to
                     include on the flash driving containing the exhibits, all
                     depositions or prior statements the party intends to use to
                     impeach or refresh the recollection of the witnesses at trial.

               (b)   Whenever a party seeks to read deposition testimony to the jury, the
                     party shall place a “witness” in the witness stand to read the answers
                     provided at deposition.

        (10)   Electronics:

               During trial, counsel for all parties, paralegals, and any other staff members
               are permitted to enter the courthouse with cellular phones, laptop
               computers, and electronic equipment without additional leave of court.
               Cellular phones shall be kept in the “vibrate” or “silent” mode and may only
               be used outside the courtroom. Additionally, access to the Internet via the
               courthouse’s wireless network is granted to all parties. All individuals
               must present valid picture identification and a copy of this Order upon
               the request of the Court Security Officers assigned to this facility.

        (11)   Courtroom Audio Visual Equipment:

               A variety of audio visual equipment is available for use by counsel during
               trial, including a document camera, a connection for laptop access to the
               audio visual system, 1 and monitors at each counsel table, in the witness
               box, and in the jury box. Counsel are advised to contact the Court’s
               Courtroom Deputy, Grace Farey, at 407-835-4219 at least one week prior
               to trial to arrange a time to become familiar with the courtroom technology
               systems. Failure to do so may result in the equipment not being available
               for use




 1   An information sheet on laptop access can be found at http://www.flmd.uscourts.gov/
     judicialInfo/Orlando/JgByron.htm.



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       (12)   Courthouse Website:

              Counsel are advised to review the Court’s preferences located on the
              Court’s web page at http://www.flmd.uscourts.gov/judicialInfo/Orlando/
              JgByron.htm.

       (13)   Developments:

              Counsel are directed to notify the Court promptly of any development
              subsequent to the entry of this Order which would in any way affect the trial
              of this case by calling the Court’s Courtroom Deputy, Grace Farey, at 407-
              835-4219.


       DONE AND ORDERED in Orlando, Florida on January 24, 2020.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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